         Case 1:09-cr-00003-JL          Document 35        Filed 06/25/09      Page 1 of 1


                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW HAMPSHIRE


USA

                v.                                     Criminal No. 09-cr-3-02-JL

Jayson Galeano


                                             ORDER

       Defendant Jayson Galeano’s pro se Motion for Transfer to a New Hampshire Facility,

Document #33, is denied without prejudice as procedurally improper. "A district court enjoys

wide latitude in managing its docket and can require represented parties to present motions

through counsel.” United States v. Tracy, 989 F.2d 1279, 1286 (1st Cir. 1993), cert. denied, 513

U.S. 1031 (1994). The court will accept no further pro se filings by the defendant other than

those involving his relationship with counsel. Plaintiff's counsel is directed to file, under his

signature and all that entails under Rule 11, all future filings with the court. This denial is

without prejudice, and Attorney Dennehy may request similar relief on the defendant's behalf if

he believes, consistent with his obligations under Rule 11 and as an officer of the court, that the

applicable law supports it.



       SO ORDERED.



June 25, 2009
                                                  Joseph N. Laplante
                                                  United States District Judge

cc:    James Dennehy, Esq.
       Jayson Galeano, pro se
       U. S. Marshal
       U. S. Probation
